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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 13BcvB02469BRMBMJW

  RANDALL J. HATLEE, and
  RONALD L. SWIFT,

         Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER, and
  ASHLEIGH OLDS,

        Defendants.
  ______________________________________________________________________________

           ORDER DENYING MOTION TO DISMISS (ECF NO. 11) AS MOOT
  ______________________________________________________________________________

         THIS MATTER comes before the Court on Defendant Ashleigh Olds’ (Dr. Olds) Motion

  to Dismiss (ECF No. 11). Upon consideration of the Motion, the subsequently filed Amended

  Complaint, Dr. Olds’ representation it is unnecessary for the Court to consider her Motion to

  Dismiss as she will be filing another motion to dismiss to address the claims in the Amended

  Complaint, and being otherwise fully advised in the premises, it is

         ORDERED that the Motion to Dismiss (ECF No. 11) is hereby denied as moot.

         DATED this 18th day of November, 2013.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       United States District Judge
